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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 PUBLIC EMPLOYEES FOR
 ENVIRONMENTAL RESPONSIBILITY
         Plaintiff,
       v.
                                               Civil Action No. 18-0158 (CKK)
 DEPARTMENT OF HOMELAND
 SECURITY,
            Defendant.


                                         ORDER
                                    (December 17, 2021)

      For the reasons set forth in the accompanying Memorandum Opinion, it is, this 17th day

of December, 2021,

      ORDERED that Defendant U.S. Department of Homeland Security’s [22] Motion for

Summary Judgment is GRANTED; it is further

      ORDERED, that Plaintiff’s [24] Cross-Motion for Summary Judgment is DENIED.

      SO ORDERED.

      This is a final appealable order.


                                                    /s/
                                                  COLLEEN KOLLAR-KOTELLY
                                                  United States District Judge
